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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     SERGIO PADILLA
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8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. 1:06-cr-59 LJO
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   SERGIO PADILLA,                                     RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, SERGIO PADILLA, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On February 4, 2010, this Court sentenced Mr. Padilla to a term of 262 months

25   imprisonment on Count 1 (violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846), and 240

26   months imprisonment on Count 4(a violation of 18 U.S.C. §§ 1956(a)(1)(B)(I), 1956(h), and

27   1957, and 18 U.S.C. § 2), to be served concurrently to one another;

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     Stipulation and Order Re: Sentence Reduction         1
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1              3.         His total offense level was 39, his criminal history category was I, and the
2    resulting guideline range was 262 to 327 months;
3              4.         The sentencing range applicable to Mr. Padilla was subsequently lowered by the
4    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
5    see 79 Fed. Reg. 44,973;
6              5.         Mr. Padilla’s total offense level has been reduced from 39 to 37, and his amended
7    guideline range is 240 to 262 months by operation of the statutory mandatory minimum of 240
8    months;
9              6.         Accordingly, the parties request the Court enter the order lodged herewith
10   reducing Mr. Padilla’s term of imprisonment to a term of 240 months on Count 1, to be run
11   concurrently to the existing term of 240 months on Count 4.
12   Respectfully submitted,
13   Dated: June 2, 2016                                Dated: June 2, 2016
14   PHILLIP A. TALBERT                                 HEATHER E. WILLIAMS
     Acting United States Attorney                      Federal Defender
15
16   /s/ Kathleen A. Servatius                          /s/ Hannah R. Labaree
     KATHLEEN A. SERVATIUS                              HANNAH R. LABAREE
17   Assistant U.S. Attorney                            Assistant Federal Defender
18   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           SERGIO PADILLA
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     Stipulation and Order Re: Sentence Reduction           2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Padilla is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 39 to 37, resulting in an amended
6    guideline range of 240 to 262 months by operation of the statutory mandatory minimum.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in February 2010 is
8    reduced to a term of 240 months on Count 1, to be run concurrently to the existing term of 240
9    months on Count 4. In no event is this Order to be understood as authorizing a term of
10   imprisonment less than the term actually served as of the date of this order.
11             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
12   remain in effect. The clerk shall forthwith prepare an AO Form 247 reflecting the above
13   reduction in sentence, and shall serve certified copies on the United States Bureau of Prisons and
14   the United States Probation Office.
15             Unless otherwise ordered, Mr. Padilla shall report to the United States Probation Office
16   within seventy-two hours after his release.
17
     IT IS SO ORDERED.
18
19        Dated:        June 3, 2016                           /s/ Lawrence J. O’Neill _____
                                                      UNITED STATES CHIEF DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction         3
